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                                      UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF MARYLAND


 LESTER LEE,

           PLAINTIFF

 v.
                                                                      Case No. 8:24-cv-01205-TJS
 BROOKSIDE PARK CONDOMINIUM,
 INC., METROPOLIS (aka MCM, INC.),
 RAMMY AZOULAY AND LAMONT
 SAVOY

           DEFENDANTS



   DEFENDANTS BROOKSIDE PARK CONDOMINIUM, INC., METROPOLIS (aka
 MCM, INC.), AND RAMMY AZOULAY’S OPPOSITION TO PLAINTIFF’S MOTION
 TO STRIKE DEFENDANTS SECOND AND FOURTH AFFIRMATIVE DEFENSES TO
                      PLAINTIFF’S COMPLAINT

          COMES NOW, Defendants Brookside Park Condominium, Inc., Metropolis (aka MCM,

Inc.), and Rammy Azoulay (Collectively “Brookside”), through their attorneys Anthony D. Dwyer

and Eccleston and Wolf, P.C., respectfully submits the following Opposition to Plaintiff’s Motion

to Strike Defendants’ Second and Fourth Affirmative Defenses to Plaintiff’s Complaint. The Court

should deny plaintiff’s motion because (1) Brookside has provided Plaintiff with proper notice of

their Second Affirmative Defense. This motion is disingenuous. The PG ordinance is cited in a

letter attached to the complaint, The PG ordinance is cited in a letter attached to the complaint,

which is Prince George’s County Maryland, § 3-185.01 (1997), and (2) Brookside is entitled to

medical information prior to granting an accommodation thus the motion to strike the Fourth

Affirmative Defense Should be Denied. Alternatively, Brookside is entitled to a Motion For a

More Definite Statement thus Plaintiff’s request to strike The Fourth Affirmative Defense should




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be denied. Also, it would be premature to strike any affirmative defenses. A Memorandum of Law

is attached hereto and incorporated herein.

Respectfully submitted,



/s/Anthony D. Dwyer ______________
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Attorney for Defendants

                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 15th day of July, 2024, copies of the foregoing

DEFENDANTS BROOKSIDE PARK CONDOMINIUM, INC., METROPOLIS (aka

MCM, INC.), AND RAMMY AZOULAY’S OPPOSITION TO PLAINTIFF’S MOTION

TO STRIKE DEFENDANTS SECOND AND FOURTH AFFIRMATIVE DEFENSES TO

PLAINTIFF’S COMPLAINT, MEMORANDUM OF LAW IN SUPPORT OF

DEFENDANTS BROOKSIDE PARK CONDOMINIUM, INC., METROPOLIS (aka

MCM, INC.), AND RAMMY AZOULAY’S OPPOSITION TO PLAINTIFF’S MOTION

TO STRIKE DEFENDANTS SECOND AND FOURTH AFFIRMATIVE DEFENSES TO

PLAINTIFF’S COMPLAINT, AND PROPOSED ORDER were served by first-class mail,

postage prepaid to:
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                                     /s/Anthony D. Dwyer
                                     Anthony D. Dwyer (415575)
